                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                      _____________________________

                           Case No. 6D2023-2267
                    Lower Tribunal No. 2022-CA-010262-0
                     _____________________________

                                 JOSE C. DIAZ,

                                     Appellant,

                                         v.

                              STATE OF FLORIDA,

                                     Appellee.

                      _____________________________

               Appeal from the Circuit Court for Orange County.
                           Vincent S. Chiu, Judge.

                                August 27, 2024

PER CURIAM.

      AFFIRMED.

STARGEL, NARDELLA and SMITH, JJ., concur.


Jose C. Diaz, Wewahitchka, pro se.

Ashley Moody, Attorney General, Tallahassee, and Whitney Brown Hartless,
Assistant Attorney General, Daytona Beach, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
             AND DISPOSITION THEREOF IF FILED
